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18   [CAPTION CONTINUED ON NEXT PAGE]

19                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
20                                  SAN JOSE DIVISION
21

22   CONCORD MUSIC GROUP, INC., ET AL.,              Case Number: 5:24-cv-03811-EKL

23         Plaintiffs,                               STIPULATION AND
24         v.                                        [PROPOSED] ORDER REGARDING
                                                     PRELIMINARY INJUNCTION MOTION
25   ANTHROPIC PBC,
                                                     Hon. Eumi K. Lee
26         Defendant.

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 1          IT IS HEREBY STIPULATED AND AGREED, pursuant to N.D. Cal. Civil Local Rule 7-

 2   12, by and among Plaintiffs Concord Music Group, Inc., Capitol CMG, Inc., Universal Music

 3   Corp., Songs of Universal, Inc., Universal Music – MGB NA LLC, Polygram Publishing, Inc.,

 4   Universal Music – Z Tunes LLC, and ABKCO Music, Inc. (collectively, “Publishers”) and

 5   Defendant Anthropic PBC (“Anthropic”), by and through their respective counsel of record, as

 6   follows:

 7          1.      On October 18, 2023, Publishers initiated this action by filing a Complaint against

 8   Anthropic in the U.S. District Court for the Middle District of Tennessee, asserting claims for

 9   direct copyright infringement, contributory infringement, vicarious infringement, and removal or

10   alteration of copyright management information, in violation of the Copyright Act (17 U.S.C. §§

11   106(1)-(3), (5), 501, 1202). ECF No. 1.

12          2.      In the Complaint, Publishers allege ownership and/or control, in whole or in part,

13   of the exclusive rights to millions of valuable musical compositions, including the 500

14   compositions specifically identified in Exhibit A to the Complaint. See ECF No. 1-3.

15          3.      Publishers moved for a preliminary injunction on November 16, 2023, ECF No. 40,

16   alleging irreparable harm. Anthropic then moved to dismiss for lack of personal jurisdiction or, in

17   the alternative, to transfer venue. ECF No. 54. On June 24, 2024, the Middle District of Tennessee

18   held that it lacked personal jurisdiction, granted Anthropic’s motion in part, and transferred the

19   case to the Northern District of California (Judge Corley), without ruling on the preliminary

20   injunction motion. ECF No. 124. Following transfer, Publishers filed a renewed Motion for

21   Preliminary Injunction on August 1, 2024, ECF No. 179, which Anthropic opposed and which the

22   Parties have now fully briefed, see ECF Nos. 207, 225, 256. The case was reassigned from Judge

23   Corley to this Court on August 21, 2024. ECF No. 206. The Court heard oral argument on the

24   Motion on November 25, 2024. See ECF No. 272.

25          4.      The Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338(a)

26   because this dispute involves claims brought by Publishers against Anthropic under the Copyright

27   Act, 17 U.S.C. § 101 et seq.

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 1          5.      Anthropic has implemented measures (“Guardrails”) by which Anthropic asserts

 2   that it seeks to prevent infringing outputs of copyrighted content, including Publishers’ works.

 3          6.      The Parties have reached agreement resolving one aspect of the relief Publishers

 4   seek pursuant to their Motion for Preliminary Injunction, ECF No. 179. To reflect that agreement,

 5   the Parties stipulate as follows:

 6                  a.      Anthropic will maintain its already implemented Guardrails in its current

 7          AI models and product offerings. With respect to new large language models and new

 8          product offerings that are introduced in the future, Anthropic will apply Guardrails on text

 9          input and output in a manner consistent with its already-implemented Guardrails. Nothing

10          herein prevents Anthropic from expanding, improving, optimizing, or changing the

11          implementation of such Guardrails, provided that such changes do not materially diminish

12          the efficacy of the Guardrails.

13                  b.      At any time during the pendency of this proceeding, Publishers may notify

14          Anthropic in writing that its Guardrails are not effectively preventing output that

15          reproduces, distributes, or displays, in whole or in part, the lyrics to compositions owned

16          or controlled by Publishers, or creates derivative works based on those compositions.

17          Anthropic will respond to Publishers expeditiously and undertake an investigation into

18          those allegations, with which Publishers will cooperate in good faith. Anthropic will

19          ultimately provide a detailed written response identifying when and how Anthropic will

20          address the issue identified in Publishers’ notice, or Anthropic will clearly state its intent

21          not to address the issue. The foregoing procedure is without prejudice to Publishers’ right

22          to seek the Court’s intervention on an expedited basis, as appropriate.

23                  c.      Anthropic shall submit to the jurisdiction of this Court in any dispute

24          involving this stipulation, and the Court shall have the authority to enforce this stipulation

25          by all lawful and appropriate means.

26          7.      The Parties’ stipulation resolves Publishers’ pending Motion for Preliminary

27   Injunction in part, as it relates to Publishers’ request for a preliminary injunction requiring

28   Anthropic to “maintain its already-implemented guardrails,” ECF No. 179 at 9. Accordingly,
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 1   subject to the entry of this stipulation by the Court, Publishers’ Motion for Preliminary Injunction,

 2   ECF No. 179, is denied in part as MOOT with respect to that specific request.

 3           8.     This stipulation is without prejudice to the Parties’ rights, remedies, and defenses

 4   concerning the aspects of the Motion for Preliminary Injunction that are not resolved by this

 5   stipulation and any other aspects of the case not directly addressed in this stipulation. In particular,

 6   the Parties continue to dispute, and this stipulation does not resolve or affect, Publishers’ request

 7   in their Motion for Preliminary Injunction that Anthropic refrain from using unauthorized copies

 8   of Publishers’ lyrics to train future AI models. Further, nothing herein, nor any actions or

 9   statements made in connection with this stipulation, shall be construed or interpreted as an

10   admission of liability, fault, or wrongdoing by any party.

11           9.     This stipulation constitutes the entire understanding between the Parties with

12   respect to the subject matter herein. The Parties expressly agree that this stipulation supersedes all

13   prior negotiations, discussions, agreements, and understandings, whether written or oral, between

14   the Parties.

15           PURSUANT TO STIPULATION, IT IS SO ORDERED.

16

17    Dated: _________________,
              January 2         2025
                                                                     HON. EUMI K. LEE
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                                                                UNITED STATES DISTRICT JUDGE
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                                               ATTESTATION
 1

 2          Pursuant to Civil Local Rule 5-1(i)(3), I attest that all other signatories listed, and on whose

 3   behalf this filing is submitted, concur in the filing’s content and have authorized the filing.

 4

 5
     DATED: December 30, 2024                                              /s/ Joseph R. Wetzel
 6                                                                         Joseph R. Wetzel

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                                                                          STIPULATION AND [PROPOSED] ORDER
